
PER CURIAM:
This claim was submitted for decision based on the allegations of the Notice of Claim and the respondent’s Answer.
Claimant seeks payment of the sum of $600.00 for services rendered in May of 1978 at the West Virginia State Penitentiary.
In its Answer, the respondent admits the validity of the claim, but further alleges that sufficient funds were not available in the respondent’s appropriation for the fiscal year in question from which the claim could have been paid.
While we feel that this is a claim which in equity and good conscience should be paid, we are of further opinion that an award cannot be made, based on our decision in Airkem Sales and Service, et al. v. Department of Mental Health, 8 Ct. Cl. 180 (1971).
Claim disallowed.
